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Criminal Notice of Appeal - Form A


                                                 NOTICE OF APPEAL

                                               United States District Court

                                                               District of Connecticut

Caption:
United States of America           ,.
                                                                                Docket No., 3:16CR124(SRU)
JAMES C. DUCKETT, JR.

                                                                                                   (District Court JUdge)

Notice is hereby given that James C. Duckett, Jr.                                   appeals to the United States Court of

Appeals for the Second Circuit from the judgment . / J. other I
                                                                                                (specify)
entered in this action on December 6, 2017
                               (date)



This appeai concernS: Conviction only      ~        Sentence oniy l-J Conviction & Sentence          l,f    Other L-

Defendant found guilty by plea I        I trial I ,f I N/A I
Offense occurred after November 1. 1987? Ves l , f I No 1_ N/A L-

Date of sentence: December 6,2017                              N/A l-J

Bail/Jail Disposition: Committed   I ./ Not committed I             I N/A I




Appellant is represented by counsel? Ves . / I No I               I If yes, provide the follOWing information:


Defendanfs Counsel:         Richard R. Brown, Esq. and Cody N. Guarnieri, Esq.

Counsel's Address:          Brown, Paindiris & Scott, LLP

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